       Case 1:19-cv-10155-RA-KHP Document 51 Filed 10/19/20 Page 1 of 1




                                                                                          10/19/2020



October 16, 2020

By ECF

Hon. Katharine H. Parker, U.S.M.J.
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

Re:    Bloom et al. v. Emden et al., Case No. 19-cv-10155 (RA) (KHP)

Dear Judge Parker:

The parties respectfully request that the scheduling conference currently scheduled for Tuesday,
October 20, 2020 at 2:30 PM be rescheduled for the week of October 26, 2020, due to a
scheduling conflict of Defendants’ counsel.

The parties are available October 26 and 27, or any other date that week. One previous request
for an extension of this conference was made and granted.

Respectfully submitted,

/s/ Nicholas M. O’Donnell                           /s/ John D. Winter

Nicholas M. O’Donnell                               John D. Winter
Attorney for Defendants                             Attorney for Plaintiffs


The telephonic Status Conference scheduled for Tuesday, October 20, 2020 at 2:30 p.m. is hereby
rescheduled to Monday, October 26, 2020 at 12:00 p.m. Counsel for the parties are directed to call
Judge Parker’s court conference line at the scheduled time. Please dial (866) 434-5269, Access code:
4858267.




                                                                                      10/19/2020
